             United States District Court
                          Eastern District of Wisconsin
CALVIN THAMES,
on behalf of himself and all
others similarly situated,

                      Plaintiff(s),
                                                   JUDGMENT IN A CIVIL CASE
               v.
                                                                     Case No. 21-CV-664
STEEL SOLUTIONS, INC.,

                      Defendant(s).

☐      Jury Verdict. This action came before the Court for a trial by jury. The issues have been
       tried, and the jury has rendered its verdict.

☒      Decision by Court. This action came before the Court for consideration.


       IT IS HEREBY ORDERED AND ADJUDGED that this Court GRANTS the

parties’ Joint Motion for Final Settlement Approval, (ECF No. 37), APPROVES the

parties’ Settlement Agreement, (ECF No. 20-1), as a fair, reasonable, and adequate

resolution of a bona-fide dispute under the FLSA and the WWPCL.

       IT IS FURTHER ORDERED that Plaintiff’s Motion for Approval of Attorneys’

Fees and Costs, (ECF No. 31), in the amount of $29,571.63 is GRANTED.

       IT IS FURTHER ORDERED that Plaintiff’s Motion for Approval of

Service Award, (ECF No. 36), in the amount of $3,500.00 is GRANTED.

       IT IS FURTHER ORDERED that this case is dismissed on the merits and with

prejudice.




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                            Approved:

                                           STEPHEN C. DRIES
                                           United States Magistrate Judge


Dated at Milwaukee, Wisconsin, this 11th day of July, 2022.


                                           GINA M. COLLETTI
                                           Clerk of Court

                                           s/ K. Hubacz
                                           (By) Deputy Clerk




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